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       2                       UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
       3
           ___________________________
       4                                      CIVIL ACTION NUMBER:
           IN RE: VALSARTAN, LOSARTAN,
       5   AND IRBESARTAN PRODUCTS            1:19-md-02875-RBK-KW
           LIABILITY LITIGATION
       6                                      STATUS CONFERENCE
           ____________________________       (Via telephone)
       7
                Thursday, April 12, 2021
       8        Commencing at 4:00 p.m.

       9   B E F O R E:           SPECIAL MASTER,
                                  THE HONORABLE THOMAS I. VANASKIE
      10
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                 transcript produced by computer-aided transcription.
      25



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       1            (ALL PARTIES VIA TELEPHONE, April 12, 2021,

       2   4:02 p.m.)

       3            JUDGE VANASKIE:     Now, I have both of your letters

       4   and, you know, we did have a lengthy -- I shouldn't say

       5   lengthy, but we did have a discussion on this matter I guess

       6   on the 7th of April, and I guess I want to understand,

       7   Mr. Goldberg, what would be involved on your end in terms of

       8   identifying English translations of documents that are in

       9   Mandarin that have already been produced?

      10            MR. GOLDBERG:     You mean, Chinese translations of

      11   English documents, Your Honor.

      12            JUDGE VANASKIE:     Yeah, I think you're right, yeah,

      13   yeah.

      14            MR. GOLDBERG:     Exactly.

      15            JUDGE VANASKIE:     The Chinese documents in Mandarin

      16   that were already produced that have English translations for

      17   them.

      18            MR. GOLDBERG:     Right, Your Honor.       So the issue here

      19   is that we have identified about 360,000 documents that are in

      20   English, and if plaintiffs' position is that each one of those

      21   documents -- that ZHP parties should be reviewing their

      22   production to determine whether any of those 360,000 English

      23   documents have a translated version, that would take months

      24   and cost millions of dollars.      It's something that has never

      25   been envisioned by this Court, it certainly wasn't required




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       1   under the ESI protocol.

       2               And let me just explain why -- why the burden is so

       3   significant.      The ESI protocol has a field in it for metadata

       4   that allows the parties to identify whether a document is

       5   written in a foreign language, which we've done, and we

       6   provided that information to Your Honor.             That's the 360,000

       7   English documents, and approximately 40,000 Chinese documents.

       8               The only way to determine whether any of those

       9   English documents was in the ordinary course of business

      10   translated into Chinese, such that a Chinese version of that

      11   document exists in the production, would require attorneys to

      12   manually review the production and that would take months of

      13   attorney time at a cost of millions of dollars.              It would

      14   require doing searches of documents using Chinese characters

      15   to try to determine and then match up whether a document

      16   written in Chinese, if it even exists, is truly a translated

      17   version of an English document.

      18               You know, the burden would be extensive.           It is a

      19   burden that two and a half years into this litigation, in the

      20   midst of depositions, and mind you, Your Honor, we've already

      21   taken half of the ZH party depositions, for this request to be

      22   made now, and for the Court to consider imposing this kind of

      23   burden would be really -- is really incongruent, given that

      24   this wasn't required when the parties negotiated the ESI

      25   protocol.




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       1            Plaintiffs never asked for this when the Chinese and

       2   English search terms were negotiated.         This issue never arose

       3   when core discovery was produced in 2019.           This issue didn't

       4   come up when the deposition protocol was negotiated.             I mean,

       5   it would be absolutely prejudicial to require -- to require

       6   that the ZHP parties undertake this burden.

       7            They --

       8            JUDGE VANASKIE:     All right.      Go ahead.     I'm sorry, I

       9   didn't mean to cut you off.

      10            MR. GOLDBERG:     Sure, Your Honor.        You know, and I

      11   just to say, what Your Honor ordered last week, although --

      12   and an imperfect compromise was a compromise nonetheless that

      13   really erred to the benefit of plaintiffs in terms of the cost

      14   and burden, because what Your Honor was to say, if you are

      15   going to use any English documents for depositions, you have

      16   to have those documents translated and use a very

      17   cost-effective, if not free service, Google Translate.

      18            And that ruling is really something different than

      19   what plaintiffs appear to ask for, because plaintiffs appear

      20   to be asking for the translation of all 360,000 English

      21   documents, or the matching up of all 360,000 documents.              Of

      22   course, the universe of English documents that need to be

      23   translated for the six remaining Chinese-speaking witnesses is

      24   relatively small, right?     That is maybe, maybe a hundred

      25   documents, give or take.




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       1            And what the Court has done is told plaintiffs, you

       2   have a very cost-effective way to translate those hundred

       3   exhibits, and so it's sort of surprising that plaintiffs are

       4   trying to sort of relitigate the ruling that the Court made

       5   last week, which was so helpful to the plaintiffs from a cost

       6   and burden standpoint.

       7            JUDGE VANASKIE:     All right.      Thank you.     Mr. Slater?

       8            MR. SLATER:     Thank you, Your Honor.        We're certainly

       9   not seeking to relitigate anything.        Your Honor ruled, and we

      10   put it in our letter and cited to the transcript that this was

      11   what ZHP was going to be required to do, and I think that was

      12   in part a reaction to the fact that ZHP made a big showing in

      13   their opposition or in their letters before last week's

      14   hearing to the effect that we used documents that had Chinese

      15   counterparts, Chinese-language counterparts, and didn't use

      16   the Chinese-language counterparts because we didn't realize

      17   they existed.

      18            We just hadn't known and I don't know when they

      19   figured it out, I don't know if it was during the deposition

      20   or after, but this -- we're not looking to relitigate it.              We

      21   were simply writing to Your Honor because we were perplexed

      22   that -- we obviously argued everything last week and this was

      23   your ruling and it's in the letter.        I don't know that I -- I

      24   don't think I should -- really that I need to read it for

      25   defense counsel, but you were very clear that you said




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       1   whatever steps need to be taken to achieve that result, which

       2   is to identify those documents that are in English, have a

       3   Mandarin or a Chinese counterpart, that they should identify

       4   those for us, that was what Your Honor ruled and I think in

       5   part was an acknowledgement of what Mr. Goldberg is talking

       6   about.   He said, well, it was an imperfect compromise.             I

       7   don't characterize your ruling that way.            I feel like you

       8   tried to come up with a decision that you thought made sense,

       9   you know, both sides probably weren't ecstatic about parts of

      10   it, but that's probably how a lot of rulings go in this

      11   business.

      12               So we're just asking that they do what Your Honor

      13   ordered them to do last week.

      14               Now, if we're going to rediscuss it -- you know,

      15   remember Mr. Goldberg said in his letter that -- why is ZHP

      16   being asked to do something that the plaintiffs could just

      17   easily do for themselves.     That was what the letter to Your

      18   Honor said.

      19               So now we're hearing, it would take months and

      20   millions of dollars of time.

      21               So that probably -- so to say, well, the plaintiffs

      22   can do it just as easily, first of all, I doubt that.              I would

      23   think that ZHP probably has internally matched up those

      24   documents that are in both languages, and certainly that they

      25   would deem to be the, quote unquote, tort 100, I don't know




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       1   how they identify those or come up with that, but my guess is

       2   that's just an abstraction.

       3            So if we're going back to it, it's too difficult to

       4   do that since it was, as Mr. Goldberg said, an imperfect

       5   compromise and we are through, as he said, half the

       6   depositions already.     It would seem to me that the entire

       7   impetus for this was what was happening in a couple of moments

       8   during two depositions after which there were no issues.

       9            So if it's that difficult to implement one half of

      10   the, quote unquote, imperfect compromise, then it would seem

      11   to me that we should jettison, frankly, the entire process and

      12   just -- Your Honor has cautioned us already to deal with each

      13   other in the best way we can and to just go forward, but, you

      14   know, one of the concerns I had in last week's hearing and I

      15   left it, because to me, it became a nonissue for the future

      16   was when Mr. Goldberg kept reserving his right to object to

      17   the machine translation, where on one hand, he said, well,

      18   this is really economical and this is what the plaintiffs can

      19   do, but they're going to object.

      20            Now, I don't know how in practice they're going to

      21   place an objection in the future, are they going to ask to

      22   redo the depositions.     I doubt it, but I felt like this was

      23   somewhat of a response to those concerns to say, look, if

      24   there's a document that's in both languages in the production,

      25   tell the plaintiffs, because we would obviously use both




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       1   documents, and we have no problem with doing that.              As you've

       2   seen in the record, we've done that every time we identified

       3   the counterpart documents.

       4             So, you know, all I did was ask, Your Honor, and I

       5   was frankly embarrassed to have to write the letter Friday

       6   night because I thought that Your Honor made a very clear

       7   ruling, and it was what it was, and I was surprised to see ZHP

       8   say, well, you know, we're not going to do that because it's

       9   going to be too much work.     I thought they were saying they

      10   don't want to overlay the metadata.

      11             And I will say one last thing.            We asked them to do

      12   this during the ESI protocol negotiations and they said they

      13   didn't want to do it, and I will say another thing, I agree

      14   with Mr. Goldberg.     We're way down the line here, and we had a

      15   deposition protocol and it took multiple depositions before

      16   this issue was raised, and we're down the line on a lot of

      17   things.

      18             So, frankly, we would prefer just to leave the

      19   protocols as they were and to proceed as we were previously,

      20   and to take -- if there's too much of a burden on their side,

      21   then just, I would say, lift all the burdens, just move

      22   forward, and my sense is things will work fine.

      23             So thank you for hearing me.

      24             MR. GOLDBERG:    Your Honor, may I?

      25             JUDGE VANASKIE:    Absolutely.




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       1              Yes, I expect so, Mr. Goldberg.

       2              MR. GOLDBERG:   First of all, Your Honor, we can't

       3   jettison the one fundamental piece, which is that a Chinese

       4   witness should not have to be deposed and asked about a

       5   document that a Chinese witness can't read because it's in

       6   English.   So the Chinese documents that are going to be shown

       7   to the witnesses have to be translated.

       8              It doesn't seem that there's any dispute, at least in

       9   the Court's mind about that.       The Court has said a number of

      10   times that that is only fair to the witness.           So that cannot

      11   be jettisoned.

      12              In our letter, what we expressed to the Court was,

      13   one, it would be attorney work product for us if we have

      14   chosen to translate any documents from English to Mandarin, or

      15   to Chinese, that obviously is attorney work product and we

      16   should not have to be -- required to disclose it.

      17              That said, and as I said in the letter, we've not

      18   done that, so that issue is off the table.

      19              The burden of -- I think one thing is clear, as well,

      20   Your Honor, plaintiffs' letter suggests the translation of all

      21   360 -- I'm sorry, not the translation, plaintiffs' letter

      22   suggests taking all 360,000 English-speaking documents and

      23   trying to determine if there are any translated versions of

      24   those documents.

      25              There is no way to do that using metadata.           It would




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       1   require a manual review.     It would require attorneys or

       2   contract attorneys looking at the documents, performing

       3   searches and trying to identify whether there are any Chinese

       4   counterparts.     That burden is -- it would be the same burden

       5   on plaintiffs.

       6             There's no reason to shift that burden from

       7   plaintiffs to defendants.     It is their depositions, if they

       8   want -- if they want all 360,000 English documents reviewed

       9   for that purpose.    However, we do not believe they need all

      10   360,000 reviewed for that purpose.       There are only six

      11   witnesses who speak Chinese, who do not read English, whose --

      12   who might potentially be shown a document that needs to get

      13   translated from English to Mandarin.        Maybe there are a

      14   hundred of those documents.

      15             Plaintiffs have a choice.       They can expend the

      16   resources to determine whether -- manually, whether any of

      17   those hundred or so documents have a Chinese counterpart just

      18   the same way we can, or the Court has given plaintiffs a much

      19   more affordable alternative.

      20             The plaintiffs can simply take that hundred or so

      21   documents and use Google Translate and move forward as the

      22   Court has ordered.

      23             But whether the plaintiffs choose the manual --

      24   trying to determine manually whether there is a translation in

      25   the production, or to use Google Translate, that is




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       1   plaintiffs' choice.     There is no basis to shift that burden to

       2   the ZHP parties.    These are the documents plaintiffs want to

       3   use for deposition.

       4             When plaintiffs had the opportunity, when we were

       5   negotiating the deposition protocol to provide us in advance

       6   with translations of those documents, they chose not to, they

       7   said that would reveal their work product.          You know, they

       8   don't want to reveal the hundred or so documents they want to

       9   show to the ZHP party witnesses, so they should either take

      10   the time to review the production to determine if there is a

      11   translation, they can do that manually.

      12             They have a team, as they've represented to you, they

      13   have a team of people who speak Chinese who are helping them

      14   translate documents.    There's no reason they can't take on

      15   that burden, or they could follow the Court's instruction and

      16   use the Google Translate and be done with this in a matter of

      17   hours.

      18             JUDGE VANASKIE:    All right.     Anything else,

      19   Mr. Slater?

      20             MR. SLATER:    Yes, Your Honor.      Let me just get off of

      21   the speaker so you hear me better.

      22             Just a couple small things.       One, I guess if counsel

      23   is now saying we should use Google Translate, I thought he had

      24   an issue with it last week, but that's fine, if that's what

      25   Your Honor, you know, continues to rule.




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       1               I want to make a couple things clear.        Number 1, the

       2   discussion regarding translations of documents in the context

       3   of the deposition protocol was the translation of

       4   Chinese-language documents to English.         There was never a

       5   request for us to translate from English to Chinese.            It was

       6   never asked for, it was never raised.        It only came up in the

       7   last two -- last week or so, two weeks, week and a half.

       8               So that was never on the table, so we had no reason

       9   to anticipate this issue.

      10               We always assumed that we would be able to use

      11   official documents and internal corporate documents with their

      12   witnesses as they were prepared and utilized in the ordinary

      13   course of business, that's why a translator will be put into

      14   the deposition, so if a witness needed translation, they could

      15   get it from the translator brought in by ZHP, and that's how

      16   we were proceeding and not having an issue until they raised

      17   this issue.    It's probably become much more than anybody

      18   anticipated, certainly I would guess more than Your Honor

      19   anticipated that we are arguing over this so much, but it's

      20   obvious that it is an imposition for both sides, but this is

      21   their request.

      22               Their request for the convenience of their witnesses

      23   in our use of official FDA and corporate documents that we're

      24   utilizing as they were maintained in the ordinary course of

      25   business.




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       1             So I'll just -- this is -- you know, and one other

       2   thing.   This argument about attorney work product.           I don't

       3   know why counsel keeps saying it, and then saying, but we have

       4   no other translations.     It's about the third time we've heard

       5   it, it's concerning.

       6             I have -- I don't know how counsel is defining his

       7   terms or what's going on at ZHP, but we know from the

       8   depositions that documents that are in English are translated

       9   for the Chinese-speaking documents within the company, they've

      10   testified to that, that people help them read them or

      11   understand them.    And, you know, that's part of what we want

      12   to show is, if there's some very important document in the

      13   English language and the key witness who is in charge of that

      14   department or is in charge of testifying on this topic can't

      15   even understand the document, I think that goes to certain

      16   issues that are substantive, because the information is, in

      17   some cases, subtle, complex, technical, and if you're telling

      18   me people who are in charge of quality processes, in charge of

      19   important processes couldn't read the documents and didn't

      20   have a good way to get translations to them in the ordinary

      21   course, I think that raises some significant issues about how

      22   ZHP was doing business and why these things occurred.

      23             So we've just always tried to do -- take depositions

      24   with documents that they gave us.       That's what we're talking

      25   about here, I think, and if there's going to be a burden, it's




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       1   for their benefit, so they should carry that burden and they

       2   should certainly not be in a position to later say, you know,

       3   there was a Mandarin version of that English document, which

       4   would have been a much better translation than what you ended

       5   up using off of Google Translate or however we get these

       6   documents translated, which counsel already knows and has

       7   admitted on the record he knows they're going to be imperfect.

       8   So again, I don't know where this foundation objection will

       9   come from, and this is the process they've asked for and

      10   agreed to.

      11              But we certainly don't want to get those sorts of

      12   objections later.    So if they're not going to identify the

      13   documents, it seems like they're creating mischief in the game

      14   that they asked us to play.

      15              JUDGE VANASKIE:   All right.

      16              MR. GOLDBERG:   Your Honor, may I, please, because --

      17              JUDGE VANASKIE:   Just briefly, please.

      18              MR. GOLDBERG:   Thank you.     I just want to make sure

      19   that the record is clear.     One, this isn't a question of

      20   convenience, it's a question of fairness.          The witnesses need

      21   to have documents that they can read and; two, in terms of the

      22   Google Translate, I just don't want the record to be muddled

      23   on this.

      24              The Court previously ruled that documents, because of

      25   the security issues, documents that have been marked




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       1   restricted, confidential, cannot be run through the Google

       2   Translate, and -- or documents that have been marked

       3   confidential.     I just don't want that to be lost on this

       4   record, because that was very clear from the last record, and

       5   otherwise, we've reserved all of our objections in the last

       6   hearing.

       7              JUDGE VANASKIE:   Very well.     When I made my ruling

       8   last week indicating that whatever steps need to be taken to

       9   have documents in the -- translated from English to Mandarin,

      10   I did so with an erroneous assumption that there would exist

      11   on the defense side, on ZHP side, an index of what documents

      12   have been translated to Mandarin from English, so that if a

      13   witness was going to be asked a question about a particular

      14   document, ZHP would have the ability to readily produce that

      15   document in Mandarin, to facilitate the examination of the

      16   witness.

      17              What I'm hearing and maybe I'm still wrong on this,

      18   is that such an index does not exist.        What I'm also hearing

      19   is that the burden of correlating documents in Mandarin to

      20   those that have been produced in English would be an enormous

      21   burden, and I'm not prepared to impose that upon any party at

      22   this point in the proceedings.

      23              I do think it's a matter of fairness on both sides.

      24   I think if the documents exist in Mandarin and the defense

      25   knows that they have that Mandarin version of the English




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       1   document, I think in the spirit of cooperation they should

       2   produce it in Mandarin at the appropriate time.            If they don't

       3   know, then I would not impose that burden.

       4             I understand the objection or concern about simply

       5   identifying documents that are now in Mandarin that have been

       6   selected by counsel for ZHP to translate to Mandarin.             I think

       7   that would constitute work product to do it in isolation, to

       8   just produce that list.     But if a witness is being examined

       9   and a document exists in Mandarin and can be readily produced,

      10   I know I'm probably being naive in suggesting that, but I

      11   would have hoped that the Mandarin document could have been

      12   displayed to the witness.

      13             In any event, I'm not going to require ZHP to

      14   identify every English-speaking document that has been

      15   translated to Mandarin.

      16             I am going to continue to have plaintiffs use Google

      17   Translate to translate those documents that have not been

      18   marked as confidential.

      19             Now, where does that leave us?           That leaves us with

      20   the documents that have been marked as confidential, and I

      21   know there have been an enormous amount of documents that have

      22   been marked as confidential, and I'm working my way through

      23   the motion to seal.    That deals only with 29 documents, but

      24   the decision can be a precedent for how others should be dealt

      25   with, but I'm hopeful to have a ruling out very shortly on




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       1   that.   That might provide some guidance in terms of your

       2   ability to use -- Mr. Slater, your ability to use Google

       3   Translate if I say the documents need not be sealed.

       4             But that's where we stand right now.          I don't think I

       5   can do much more, other than to say that I won't require ZHP

       6   to undergo the burden of identifying the Mandarin version of

       7   the documents that are in English through some sort of index

       8   or cross-reference, and I will require, to the extent

       9   plaintiff can, to use whatever means.        I don't mean to impose

      10   a burden on plaintiffs as well.       They can use Google

      11   Translate.

      12             Those documents that have been marked as confidential

      13   or sensitive, what would you propose, Mr. Goldberg, with

      14   respect to that?

      15             MR. GOLDBERG:    I'm sorry, I was on mute.         Okay, go

      16   ahead, Jessica, that would be great.

      17             MS. PRISELAC:    Your Honor, this is Jessica Priselac

      18   for the ZHP parties.    We did have a meet and confer last week

      19   with counsel, where they represented that they actually were

      20   able to work with their vendor to be using a machine

      21   translation program that didn't require them to use Google

      22   Translate.   Sounds like they should be able to use machine

      23   translation at this point, to even translate restricted and

      24   confidential documents, because they're using a secure vendor

      25   is what they represented to us last week.




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       1             JUDGE VANASKIE:     Mr. Slater?

       2             MR. SLATER:     Yes, Your Honor.      I believe that we

       3   identified a system -- I'm not personally handling it and I

       4   know that we wanted to make sure how it was working, and I

       5   think Mr. Parekh has been handling that and I don't believe

       6   he's on this call, but, you know, we're certainly trying to

       7   handle that.      I will say one thing, and maybe this will help

       8   to head off some of the concern on both sides.

       9             The document that we used last week, that counsel

      10   said he didn't realize was a -- had a Mandarin translation

      11   within their production, was an FDA warning letter.             So maybe

      12   as a first step, and to ask in a condensed request, for the

      13   FDA or, slash, core discovery documents, if any of those,

      14   which they're basically all in English, they all are, they're

      15   all FDA communications.      If they have any of those in

      16   Mandarin, it would be very helpful because certainly, those

      17   are documents that are in English, we're not aware of

      18   translations and some of them are very lengthy.            So certainly,

      19   if there's any of the core discovery documents that are in

      20   Mandarin, maybe that would be a good head start to try to

      21   shrink the size of the unknown universe.

      22             MR. GOLDBERG:     Your Honor, this is Seth Goldberg.

      23   That request is going to be -- that would be exceedingly

      24   burdensome and -- because the number of FDA documents is

      25   probably somewhere between 5 and 10,000 documents.             Keep in




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       1   mind, Your Honor, that they've had most of these since

       2   mid-2019.    Many of them, they have the Chinese translated

       3   versions, to the extent there are any.         Many of these

       4   documents have been provided, if they are bilingual, they have

       5   been produced that way.

       6               Your Honor, it's important, and I judge from your

       7   comments that you may not -- may not understand this one

       8   point, which is, if a document had been translated in the

       9   ordinary course of business, that translation has been

      10   produced.

      11               The problem is, we have no way of connecting the

      12   original version and the translated version without a manual

      13   review, and the ZHP parties should not be burdened with doing

      14   that manual review, especially this universe of FDA documents

      15   that plaintiffs have had for years.        These documents, by

      16   definition, as core discovery, are some of the most important

      17   documents and would have warranted plaintiffs translating

      18   these years ago, in knowing they were going to be using them

      19   to show Chinese witnesses in their depositions.

      20               JUDGE VANASKIE:   I take it none of those documents

      21   would be confidential, or are they, the FDA documents?

      22               MR. SLATER:   None of them are confidential, Your

      23   Honor.   This is Adam Slater.

      24               MR. GOLDBERG:   No, that's not -- I don't think you

      25   could make a blanket statement about it in that way.            I think




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       1   there are some, for example, the DMF, the ANDA.           I think there

       2   are some communications that have been marked or some

       3   documents that have been marked restricted, confidential, so I

       4   don't think you could --

       5             MR. SLATER:   I wasn't referring to --

       6             MR. GOLDBERG:    -- you could make a blanket statement

       7   about that.

       8             MR. SLATER:   I wasn't referring to the ANDA or the

       9   DMF.   I mean, if -- certainly, if there is a Chinese-language

      10   version of those, it would be enormously easy for you to --

      11   for counsel to produce.     I don't know that we've seen it.          I

      12   just don't know off the top of my head, but I was really now

      13   talking about the communications because of the example from

      14   last week when we used an FDA-warning letter and counsel

      15   pointed out there was a Mandarin version, so I figured they

      16   must -- that ZHP must have that information because they would

      17   know which document they have in both languages.

      18             We obviously didn't realize that because the document

      19   production is so, as they say, is of the size it is.

      20             So I just was trying to find something that would

      21   help us to be able to give them what they're asking for, which

      22   is the best translation they can get which presumably would be

      23   their own document.

      24             MR. GOLDBERG:    And to be clear, Your Honor, we do not

      25   have any way of identifying which English documents, if any,




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       1   have been translated into Chinese.       But if they have been,

       2   they have been produced.

       3             JUDGE VANASKIE:    All right.     I understand it.       As I

       4   said, I'm not going to require ZHP to undertake the

       5   identification of those documents that are being -- that are

       6   -- that have been produced in English that have also been

       7   produced in Mandarin.     We will allow for machine translation

       8   of English documents to Mandarin, including, without

       9   limitation, using Google Translate.

      10             If you all can reach an agreement that documents that

      11   have been marked as restrictive or confidential can be

      12   translated to Mandarin with the plaintiffs' vendor, then that

      13   would be completely acceptable.

      14             If the documents have not been translated to

      15   Mandarin, then you may have to resort to sight translation

      16   during the course of the deposition with the clock being

      17   suspended during that sight translation.

      18             MR. GOLDBERG:    Your Honor --

      19             JUDGE VANASKIE:    I know you are going to object to

      20   that but I don't know that there's much else I can do.

      21             Go ahead, Mr. Goldberg.

      22             MR. GOLDBERG:    Well, I mean, I am -- I do object to

      23   that, and I think by doing that, you are opening the door,

      24   again, to, A, burden shifting, and now, B, potentially forcing

      25   the Chinese witnesses who have traveled for their depositions




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       1   on time-limited visas to be spending time during the

       2   deposition to have their documents translated, and they have

       3   told us they have a vendor who can do this.

       4             To reopen that issue is -- you know, that specific

       5   issue is, I think, going to potentially undo all of these

       6   rulings because plaintiffs can just say, well, we'll just go

       7   with the sight translation.

       8             Your Honor has been very clear that documents need to

       9   be translated, they have a vendor who can do it, and there's

      10   no -- there's no reason to revisit the issue and then say that

      11   timing would somehow count against the ZHP parties.

      12             JUDGE VANASKIE:    And ZHP has agreed to the use of

      13   their vendor to translate documents that are sensitive or

      14   confidential?

      15             MR. GOLDBERG:    Yes, because they told us last week

      16   that it was secure.

      17             JUDGE VANASKIE:    Well, if there's agreement with

      18   respect to that particular issue, I think that would be the

      19   way to handle it.    I just want to make sure there's agreement.

      20             MR. SLATER:   Your Honor --

      21             MR. PAREKH:   Your Honor, this is Behram Parekh.           I'm

      22   sorry, if I can just interrupt for just a moment.

      23             JUDGE VANASKIE:    No, I'd like to hear from you.

      24             MR. PAREKH:   The vendor that we propose to use is

      25   called Reverso.    We believe that it is sufficiently secure.




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       1   However, it is up to ZHP to agree or not agree as to that

       2   determination.     It is an online website where we can upload

       3   documents and obtain the translated versions.

       4             Their privacy policy appears to state that those

       5   documents will not be kept and won't be looked at, but that's

       6   all we can go on.

       7             JUDGE VANASKIE:    All right.     So where does that leave

       8   us with respect to ZHP agreeing they can use this vendor, this

       9   Reverso, or whatever the name is?

      10             MR. GOLDBERG:    Your Honor, I think we can confirm

      11   with plaintiffs that we're agreeable to it.           I'm not sure they

      12   provided us with that privacy language.            If they can, if they

      13   would do that, that would be helpful.        We can certainly have

      14   another call with them to try to understand that, but I think

      15   provided we can get comfortable with it, that is -- that is

      16   the way to go for the confidential documents.

      17             JUDGE VANASKIE:    All right.     Very well.

      18             Why don't you ask the questions that need to be asked

      19   to assure yourself that it's sufficiently secure for purposes

      20   of these documents.    We'll continue to work through this

      21   motion to seal, and that might help, I'm not sure yet.

      22   Obviously, the documents are unsealed, there's no need to

      23   maintain confidentiality.

      24             And so let me see if I can summarize.           I'm not going

      25   to require ZHP to identify documents that have been translated




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       1   from English to Mandarin.         I am going to require plaintiffs to

       2   use machine translation, either through their vendor or

       3   through Google Translate to provide documents in Mandarin to

       4   the Chinese-speaking witnesses.

       5             With respect to those documents that are

       6   confidential, plaintiffs would have to use their vendor,

       7   assuming that ZHP is satisfied that there is sufficient

       8   security in that process.         Anything else?

       9             MR. SLATER:     I don't believe so, Your Honor.              Thank

      10   you.

      11             JUDGE VANASKIE:         All right.      From ZHP?

      12             MR. GOLDBERG:       Nothing from ZHP, Your Honor, thank

      13   you.

      14             JUDGE VANASKIE:         All right.      Thank you all very much.

      15             (4:43 p.m.)

      16             -   -   -   -   -   -   -   -   -   -   -    -   -   -   -

      17
      18             I certify that the foregoing is a correct transcript

      19   from the record of proceedings in the above-entitled matter.

      20
      21   /S/ Karen Friedlander, CRR, RMR
           Court Reporter/Transcriber
      22
      23   April 12, 2021
           Date
      24
      25



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